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           UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF FLORIDA
                            WEST PALM BEACH DIVISION




  IN RE SEALED SEARCH WARRANT                             Case No.: 9:22-MJ-08332-BER-1
  ______________________________________/

             NOTICE OF JOINDER BY THE FLORIDA CENTER FOR
       GOVERNMENT ACCOUNTABILITY JOINING MEDIA INTERVENORS’
          MOTION TO UNSEAL PORTIONS OF GOVERNMENT’S BRIEF
      ADDRESSING REDACTIONS TO SEARCH WARRANT AFFIDAVIT AND
   FOR PUBLIC FILING OF REDACTED VERSIONS OF ALL SEALED DOCUMENTS

         The Florida Center for Government Accountability, Inc., a Florida not-for-profit

  corporation, (the “Center”), through counsel, gives Notice of its Joinder in the Media

  Intervenors’ Motion to Unseal Portions of Government’s Brief Addressing Redactions to Search

  Warrant Affidavit and For Public Filing of Redacted Versions of All Sealed Documents (ECF#

  91).

                                            Respectfully submitted,



                                            /s/ Andrea Flynn Mogensen, Esq.
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                              CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on August 25, 2022, I caused the attached document to be
  electronically transmitted to the Clerk’s Office using the CM/ECF system for filing.




                                         /s/ Andrea Flynn Mogensen, Esq.
                                         Andrea Flynn Mogensen, Esq.




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